Case 2:22-cv-01563-GMB Document 1-3 Filed 12/14/22 Page 1 of 2            FILED
                                                                 2022 Dec-15 AM 09:52
                                                                 U.S. DISTRICT COURT
                                                                     N.D. OF ALABAMA




                    Exhibit C
                                                                Case 2:22-cv-01563-GMB Document 1-3 Filed 12/14/22 Page 2 of 2

Diversified Maintenance, LLC                                                                                                                                                          Invoice Aging - Days after Past Due

Customers Listed: To                                                                                                                                                                          Date Range: All Dates

Aging Date: 03/08/22                            Cut-Off Date: 03/08/22
                                                                                                                                                                         03/08/22           4:42:09 PM                                  Page 1 of 1
Posting Date Cut-Off: 03/08/22

Customer #            Customer Name                                                                             Original                                                                                      Credit Limit        Terms
Status   Date         Ref   PO #                Job #                           Invoice #       Days Out        Amount             Current               1 - 30                31 - 60             61 - 90                   91 Plus           Balance Due

39369            City Storage Systems                                                                      (303) 885-4750                    Last Payment:          04/09/21               $3,345.49                            Net Due 30 Days
          01/31/21    Inv   Use 810 N. Vallejo St39369 City Storage Systems           457576        371          5,442.83                                                                                                    5,442.83                  5,442.83
          02/28/21    Inv   Use 810 N. Vallejo St39369 City Storage Systems           459073        343          5,336.67                                                                                                    5,336.67                  5,336.67
          03/31/21    Inv   810 N. Vallejo St    39369 City Storage Systems           461549        312          5,549.00                                                                                                    5,549.00                  5,549.00
          05/01/21    Inv   810 N Vallejo St     39369 City Storage Systems           464250        281          5,708.25                                                                                                    5,708.25                  5,708.25
          05/31/21    Inv   810 Vallejo St       39369 City Storage Systems           465753        251          6,610.70                                                                                                    6,610.70                  6,610.70
          06/09/21    Inv   810 Vallejo St       39369 City Storage Systems           465754        242          1,982.16                                                                                                    1,982.16                  1,982.16

                                                                                          Sub Total:            30,629.61                                                                                               30,629.61                     30,629.61



                                                                                                                                                                                                                      Percent                     Balance Due

                                                                                                                                                                                                         Current             0.00%                       $0.00
                                                                                                                                                                                                          1 - 30             0.00%                       $0.00

                                                                                                                                                                                                         31 - 60             0.00%                       $0.00
                                                                                                                                                                                                         61 - 90             0.00%                       $0.00

                                                                                                                                                                                                         91 Plus       100.00%                    $30,629.61

                                                                                                                                                                                                                       100.00%                    $30,629.61

                                                                                                                                                     Total Past Due                   $30,629.61           Total Unapplied Cash                          $0.00
                                                                                                                                                   Original Amount                    $30,629.61                   Grand Total                    $30,629.61




                                                                              Problem Invoices

 Cust #              Customer Name                               Inv Date         Inv #               Inv Amt           Amt Paid         Amt Applied         Paid     Error message




Company Totals


 C - Indicates an Invoice in Collection                 PD - Indicates Paid Invoice            PR - Indicates Partial Invoice
